Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 1 of 25




                        EXHIBIT A
      Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 2 of 25


~_'~~ CT Corporation                                                        Service of Process
                                                                            Transmittal
                                                                            11/08/2019
                                                                            CT Log Number 536600913
    TO:      BRITTANY ADAMS, Commercial Litigation ? Admin. Assistant
             Comcast Corporation
             1701 JOHN F KENNEDY BLVD STE C100, ONE COMCAST CENTER
             PHILADELPHIA, PA 19103-2848

    RE:      Process Served to Massachusetts

    FOR:     Comcast Cable Communications (Cross Ref Name) (Domestic State: DE)
             Comcast Cable Communications Management, LLC (True Name)




    ENCL08ED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                 JOAO SAKAI FREITAS ft ALINE FREITAS, PITF. vs. COMCAST CABLE COMMUNICATIONS
                                     MANAGEMENT, PLC, DFfS.
    DOCUMENTS)SERVED:                Summons, Complaint, Verification
    COURTIAGENCY:                    Middlesex Superior Court, Middlesex County, MA
                                     Case #1981CV03205
    NaTuee of acrioN:                Employee Litigation -Wrongful Termination - 08/03/2018
    ON WHOM PROCE88 WAS SERVED:      C T Corporation System, Boston, flAA
    DATE AND HOUR OF SERVICE:        By Process Server on 11 /08/2019 at 12:54
    JURISDICTION SERVED:             Ma55dCIlU52ttS

    APPEARANCE OR ANSWER DUE:        Within 20 days (Document(s) may contain additional answer dates)
    A7TORNEY(8)/ 8ENDER(S):          D1ditE NOfCJby2
                                     SHAPIRO LAW GROUP, PC
                                     300 Trade Center
                                     Suite 3700
                                     Woburn, MA 01801
                                     339-298-2300
    ACTION ITEMS:                    CT has retained the current log, Retain Date: 11 /08/2019, Expected Purge Date:
                                     11/13/2019
                                     Image SOP
                                     Email Notification, BRITTANY ADAMS brittany_adamsC~comcast.com
                                     Email Notification, CAROL SIDERIO carol_siderioC~comcast.com

   SIGNED:                           C T Corporation System
   ADDRESS:                          155 F2deral St Ste 700
                                     Boston, MA 02110-1727
    For questions:                   800-448-5350
                                     MajorAccountTeam 1 C~wotterskluwer.com




                                                                            Page 1 of 1 / JN
                                                                            Information displayed on thts trensmittal is for CT
                                                                            Corporation's record keeping purposes only and is provided to
                                                                            the recipient for quick reference. This information does not
                                                                            constitute a legal opinion as to the nature of action, the
                                                                            amount of damages, the answer date, or any information
                                                                            contained in the dauments themselves. Recipient is
                                                                            responsible for interpreting said documents and for taking
                                                                            appropriate action. Signatures on certffled mail rxetpts
                                                                            confirm receipt of package only, not contents.
                        Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 3 of 25
                                                                             D
                                                                 4

                           .~
                                                                  ~                        n   ,~a                              t~
                                                 Commoaw~elth of Yaesschuss!!s                 ~~
                   MIDDI.ESEX.38.                                          TRIAL.COURT OP THE COMMOrNVEA1.TH
                                                            a              SUPERIOR COURT DE      MENT-~• ~--
                                                                           CIVlL'DOCf(ET N0.'~,         ..07

        . V _...~~..~.~.
                     ~ ~ a
                           _~,__ ,PLAINTiFF(S),                                       t~       D
                                                                                                     {~i'
                                                                                                                           C~


 .GQ~~C~~' ~(~7~G~U/IrI~YI~
  .~ Mme►   - ~ ~'•~~   My~4~~      ~YCiA   ~~
                                                   ,DEFENDANT(S)
                                                                                           D
                                                                                                I~  {
                                                                                                            ~~
                                                                                                    w ~~
                                                                      E~ItI`~:•I;13

                  T}iIS SUAAN~ONS IS DIRECTED TO                     ~~~~:        ~~i0W1/19:{O~enderrt's name)
                                                      ~............~ ~..~a.r,...-~.~..,,. _....
                   You aro baln sued. Ths PlaindR{R)named st~ov~e hasstarted a iewa~~il a~airwt you. Acopy ofthe
                   P'~intt~'s     i Wed a h et you Is           bo the sumnro~ and!hs vrP~gh~al oomplght Ftaa bean
                   fled U the                       ~ Cotxt. YOI~ MU$Y ACT PRWIAPTLY TO PROTECTYOIJR RtfiHTS.
                                      n
      t.     You must ~a~nel~tlds I~wsuR in writlna within ZO d~ya. N year do not rospaid~ the court msy deride
             !ha ce~e gnat you and aYvard the Pyak~iR everyad~ ep~ic~d for Ut 1he a~rripialM. Ycu vrNl also use tl~a
              oppoAunity ~o~ your side d the e~y. Yau mgtremand to this Iewsuit in w~ltlng siren if You e
              to reeoive the matter wNh the         ~M you need ~eNon~e mna to roapond~ 1ro~ r~lt requestan
           U ~ehaton ottime in wrlMn~ from tla Coiaf.~ ~ `~
      ~.      Mow fo fiapond. To e~sspond 10 thls M~waui~ you nn~tflls a wr~ten rosponse with the cantand n~ a
              copy is the PYIMiRsAm~amey(or~e Piap'Niff, H unr           ed~. You ern do 11t1s "`~      t""''r'~ - `~.
                                                                                                                          ~!
      t, e. w.               n~~ert~i ro~po~e w~h tl~e Clerk's011ice far Chrb            ,~YI~~.~                    ~~
      pr~j~1~,►~            ~(eddreas).tiY rr~ or to ~paraon,.AND
          b." DeUviuhi~ or rt~al~np a copy o~ your ro~onge~o tl~e Plak~'s At6on~sylPialr~M attl~e I~ilo~
               µ emre~s: ~ '7               f~la'1'f"~~'~       '~ ~,~~~~O~a~.rr~ /1Ai4 ~01 Quol
     a~• ~ Whitbo Indwb In Our ro~po~a~.~M "Arawrr"'le one type oT ~por~e to a Co~riplaint. Your Any                       r
= _,,,     rra~atstate vrnefhe~ You egroe or dieagrv~ w~h fhe tsd(s) in each para~rpph M urecent.
~          SOme dNen~ee.ceQed efflrrr~e ds~elmes. mgtbe etelsd NI your Atre~er ar You mad► bee Your right ~o
                                                                                                                          D
                    use ~,n ~ oou~. nyo~ ~nre anydamm~adsa~•                     (area to ea~3n~are
    a              bra o~ the sanre t~sa wnsacuon de~~sd in orscalm,a~en y~o~, nu ti~,as~aa ~bna
                   In youri4r~swer. Owe,!►au maY toes Your ~ht~a sue tl~e Plal~flabout an~Ndng related 10the
                   lewau~. N Yau want to here your case heard Mtajury you na~f ~ocJA~ih► request a JwY tAet in year
                   Anavrer or in a wriaa~ dsnm~d!brsJwy trld tlmt you na~etsend to the other ride and 1qs wig the
                   court n0 mOro tl~an 1Q deys aRer sartding yourAr~rer. You Can deo respom!beCanesb~►fN~ a
                   "Notlsn!o Ohs."if ya~u belN~re tliat!hs ~mnplsM is le~ly Invaild ar ts~iy insuil~t. A Matlon
                   ~Dtem~s rtwst be bessd on one d the lapel          Id~e ~         R9ted under Mess.R C!r P.1t M
                   you ~a 11~g s won~Diemsyou must ai~o aounpty w~lh thefang p~aoedures for'GwU lu~tia~d'
                   wed in the n~las ofthe{Oawl In vNtkh the oanpiaUrt was111ed~ avaaebNai at
                   Mnrw..~r                                   o1aoat.



                                                                                                               D
           Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 4 of 25




    4.     L~a1 Assistance. Yoga may v+fi~ to 9ert gal hs'IP firom a ieinyer. ~f you cannot geR 1ega1 ha1p.aarw 1~eretc
           ir~formatiGui fOr people wfro ropteaent tl~err~ras ie aveiiilable al www.rr~s.~v1~P.
    ~.     R~quked inbtin~tlon on ell fgtn~s: The'dvfl docket nambsr"appear~g et the top of this ~e is Ute
           ce~e nurN~er ~r~ed to thls case and mart               cn the front of your Airor Motion to DNmiss.
           Yau should refer.ta yau~seN as the'D~ndant'.

           Witrieas lion. Judith Fabdcarn. G'hi~ Justloe on ~          ~eY ~ ~ ZO~L'.




                       rsaate

r
           Notx The ixNnb~r aaNprbd eo ale Con~ahit lryr the clerk   s at a+e eaglnnhig of useI~di eha/a beh~ea on a+e
           sunwnorro ba~ora ~i~ ~ervod on tlts Cet~q.
         .             •.. f




                                               PROOF OF.SERVICE OF PROCE88

                       hereby ce~t~fy tl~al on                             ~ 20_....t served a copy d thla summons.
            ~opetl~er wfth a campy oftha       a1M In the ec~lon. on fhe de~ndant named in this eurt~ons.b the
            ~oAovrte~ maser(use Msae. R.Civ. P.4(d}(1-8)). .




            Detetk                                 .20               Signature:



            N.B.     TO PilOCEB~ BEAVER:

                  PLEASE ENTER'itlE DATE THAT YOU NIADB SERVICE ON THE DEFENDANT IN TIME 9~I-901'11
            ON THE0~lAt.8iJMMQli18 AND ON T11E t~PY OF TIC SUYAIONB SERVED ON TlIE DEFENDANT.




                     .                                                                                ,~
             Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 5 of 25


                                                ooc~         a              Trim CourtofIY~ss~chu~t~
       CINII.TRAC10Nf3 ClRDER
         .tat~►tma~i~R t.t~                      ~9d1Cv03~6                 Tlw 8uperbr Court

~""~                                         -                               Mime!a sut~vem.c~lc ~cowl               --
    Fneltas. Joao 8aloei et al rs.Con~t Cable Ca~rriu~ions
    Wen~matt t1C                                                                   c Counh►
~'0
  'Diane K Nadby~,E q.
                                                                             M        CouMv SuperiorCorot-IAbbum
    Shako Law Group PC
                                                                             200Tide Center
    30p Ttads Canter                                                         Vlbbum~ MA 01601
    Suit 3700
    VYobum.MA O'!~1

                                        1RIICIQNO ORDER -F-Fast Trash
          You aro hereby notiNed tl~et this cisis on the trsdc r+e~erenoad aba~re as per Superior Cawrt Standing
  Omer 4-M.The atf~ ~squtrs~ thatthe various             ofIftigatf~ de~ribed below morel bsc~mplsted rroR I~Ee~
  ihan tlss d~dNr~es Indi~ed.




                                                                         8ERVED elf    FlLED BY        HEARD 6Y

   Seirvios of prooasa mwle and return flla~d with!hs CouR                             01/3Q~Z0

   Response to ihs a       nt Al~d {also ass AgRCP f~                                  03IQQ/2020

      motions w~dsr MRCP 12,19 and 20                                ~   O~L2~         Q3~3Qf~QZQ      0

      n~i~a under MRCP 16'                                       ~       031~'2t2~     091901~G        O~OmO

                         ~~                      '~                      08/27/0

              a~aer~acP ~                                                ono           tav~m
    Fba~l pro~W oonh~noe ne~a an~o~ Artn him crate sat                                                           ~

         shall be ~ai~red ~d jud~rq~nt olmll issue by.                                              11N11/Z021




   The Anil pes~bW dwaln~ is                                                You wIB beend Oftll9tda~eeta I~terf6ris.
   Counpt for pl~tntlll mwtsow tl~b tracliM~ off'on d~landa~t Mtore tIN~eforf~n8 raRuen ofaa~Oe.
   This wee~aeignsd ro


  o~~~                 ~arNrrce~ac                                                             v~oMe
    14i!                 Osbrn J Nwinnan                                                            ~~~
 o.r~wwuewn.~.~n
              Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 6 of 25




       C1VR.ACYlON ~OM1IER 011EET
                                                                                  Thi$Yp~tiorCOYr!
                  ~..wnw.~~r»aw.
                  4pi1~IM0iMRFNM'i/~IM~11N


I                                                                         ~O~wMQr11/Q~Miwrwe~6tt6



A110~1~►1         A~M~MwI~

    AOO~i/!       '~11~Ma11Swii'1~~M~W1M101              AOpli~            1lOpMUIiMMM111r1~OM.~IT~.111r/IMl~,MiMq




             COOiN0.             1Ml~O~ACT~Mpp~                   iMI~K                  IIAfA~NIRY~LA~~fl1~M0lf
            Y0~              OMwTalau~Aolo~                       F                      ~1fE8      ~IA
            ~l'YM~rwwMs +~.~u~n.wwrw~xo.rr.w~.sa..t~w~acw~•~~*•,.re.rwr~o.waww~r~tw..ranw~w



                     rie~dlyddM~MdMilwNMefM~bawMd~tiO~M~Y~#~~m~rrMniNla/1MniM~Mld~i~ f~Or
                     IMM orti1Udw■~~ dM~1iivaM~~~I~pw all
                                                      mR~i1~M~
                                               p~et~~ddMo~tMirMr~e~aMw~)


              Z'iahldoAorAMa~.~........_..                                                           ._..»»............. i
              ~.TtAMq~opMUagMrw.r....,......r,....,...,~.~..~                                                            i

                                                                                                         ~~ s
     .ooa.wnwea~..M..nea~«wrendar....                                                                                       s
                                                                  .................~...r......~...
     0.1M        ~~wi4~■d~e~plrlaprnw w                                                                                     i
    :.1~M~dw~/IIIIINI~~...~......~..~..~.                         ...............___..~......»..._.......................   _
    Fa~rwa..~wsrsa~+.o~~~.o~.+~_...~.r..........~~.... s
    ur~.~r~o..~aw~t
    aen~,wa~.~ww.~~•wsaa«~a~
     anawa+~ra~era~ape~o■awan~.~e.r~,o~.a~a~..~ie.+.a.r~e.~an..Mn~                                         ~a~
     1w.do~w ear~fi~.d..~a~Maw~w..de~w.aaon~alYnaap.
                                            f~QYf~Lf~~
                                      (~di~d/1e~M~U~~
     aa~~~~ad~e~Mo.aarr~~
                                                                                                                  rdrwt

                dAtMmgl~naNl~Wnrh X



                                   46~1lIC#110N P{~OYAN~1~i1CIgLE 4s1i
     1 h~aMNy M~M11~mngMd~             idR~def/MrIl~prr~J~~Add Oa~A th~bnn WA~s vn OUpr NMok/o~t~
     Ir1i17:11Qt~~4MMtIpaiid~my dM~Nh~owoou~l~mMN~d~p1A~1woNAlen wtiAaM ~1~niN~rrl~1~
             ■d btl~r~~pnd b wrla~s~nNgl~ of ~ lwaANon.
     ~watN~dldeads 7t /~~~~                         ~       ""                                                       e.~.ei~i~
                   Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 7 of 25




                                             oo~co~w~.zx o~Mnss~►eHus~rrs
                  MIDDLPbBX,a.                                            MIDDLI=.3BaC SUPE~tXOR OOURT
                                                                          C1Vn.ACTION I~10.



                   1oA,os~arrass~
                   A1.tt~B PR~Ti~s



                    v.

                    OOIb[CAS?CABLEt~CATLONB
                    MANAG~NT~ LLC

                                     ~"~";C.




_,       ...   .~,~ .~9.~1. The Plaintiffs Jc~o Sai~ai Freitag(hereiruafc+er refen+ed to ~a"the P:lalnd4~"~or true"Hue6~nd'~   ;-, ~   n .,
                            ~a an indivtduat reatding at4Cava~ts Drhie~ Fra~ningham,MA 0270I.'Il~e Plaindff~ Aline
                            Fne![as(he~teaft~er rek~ed ~as t1~"W1fe"or"Mra Fe+eitas'~. is an individual atao residing
                            A~ 4~rAYaMrtA ~1~~ F'/Itd1~11~1A1R~ MA Oi701 {aolkcciMely ~dlC ~9~f1~~8 h


                         Z. The PistnnNff and Mca.Feeltaa may be cottecttv~eiy referred to as'the P1Atntti[s."
                         3. Co~cast Cable Cwumunicationa ~Managemenc~ LLC C'Coancaat" or `die Dc6e~tnt"} to an
                            Amakan telecommunicattans company.

                         4• Con~caat ie a limioed li~bilfty aompany duly organimd under the laws of tlt~ Stale of
                            Uetaware, veldt is headqua~ locaoed at 1500 Market Screet t1°i 9oar, feat Tower.
                            Philadetphie,PA 19102.Conac~~e maineaiersa eegula~ plea ofbuaina~sin MEddlese~t County
                            attd has a local regisoered agent.CT Corporation,locsaed at 155 Federal Street, Suioe 700.
     •                      Borme►, MAOZIIO.
Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 8 of 25




5. The Pleindf~s re~lle~e and inao~porrnte the aikgac~ana ~:t Garcch in pArag~apl~s 1 thrat~gl~ 4
   above as ifret forth herein fn fWL

6. the Plaindt~' fled hia Campatncs with the At~orneyr Cienernl's t~f8ce oa or at~ound
   Se~tetnber 23~ 2019 and he was granted the eight toirk a pri~t~e right ofaaioa punt
   co M,Q.L.a 149.X150 on Septsml~er 30,?At9.

7. juNsdicttae► le pt~nper !n this Court because dte Plaindffa Arse ~ceking dames`to exce~ of
   ewencYflve thousand dollars(=25,QOO.QO) pue~uant too M.O.L.c. 212.$3~ end Def~endent'a
   wndna gWing dae to the PGtntti~s' cause of woe oa~re~ed in du Commanarealeh of
   Ma~eachusetts.

8. TheeCa~tt,ltxa personal juriadictian avec.du Defendant,w1►q, at all times mAceria! heneo~,
   matnatin~ sya~emxHc and eondnuaus tontxct~, ngularty eranaAcced business and regularly
   a+a~it~l ttaetfof tl~e beneEtts ofthe Coasts within the Commanw~ich.

                                             ~~,

9. The Platnt[f~s t+e~nllege and inoorpontce t1~e atl~dona set forth in po~:agraPha 1 through 8
   abev~e ~s ifoec fiords Iucefn in full.

 10.Venue le eppropr~ate is th4countyands:M.O.L c. 2t3.~ 1 beauae Dciendent hasa usu~i
    p~oe ofbwine~ in dais eouaryand bath PMindf~e reside in ch4 county.
                                   ~. `s   ~ ,, ~,r o.   :M t~

 11.'t'!~e Plain~f~e re~tle~e and inoorpor~oe dte alt~~lona aec forth in para~rapl~s 1 t~trou~lt 10
     above ~a ifset Earth betels i~ full.

 12.The Plaintiff wea octginAUy hired by Comc~c an February Z1, ZOC9 fas a rata position.
    f~vin~ tke cla~ure of hV bu4lneas.

 13.He vas gtren ch~e a~d~a►ane "~et~ht Ts~in"f~ tke n►uhtt~ of         he made per day for           ~,
    Comaast whit lopil budnases. He was an r~oemplary eenpleyee wfiert he wAe ltealdty,~n
    reoelvie~ awards fo:his paforriunce.

 14. Ha kk Comc~at in 2012 w return to his bane aounery of&ail for family~.

 15.The P4aintiff r~tucexd ~a the United Stapes in ?A13 ~u►d waB ~galn af~ered a poehiai grids
    Cam~at io their newly► deployed "Sweep teams."

 16 1n Ma~rh of ?A16. die Plaiadff arse struggling to t~andte the pmdety and praeuce of h14


                                                                                                ~j5
                                                                                                 7~
Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 9 of 25




     ~oyn►ent whUe gasng duou,gh a dtfRcu{t d~vora~from hia naw ao~wtfe.He was dMgnosed
     wid► major depieatve dtsarder i~ July 201b. Cameast wAa duly t~oNEled and pravidet!
     evide~►ae of hts di~aele and, after aanaide~tion, ~an~od the l~e4ntiff a leave of absettoe
     fears June 3a,Z016 to January 30.2017 due co hia medkel aondictan~.

  17.Aber nturni~nngfrom leave,Comcaet pravtded tlue Platmlif'wkh a cu~eomury°samp"bat~te
     that Bav~e hlm sera fnads dudes his Est 30 dsye back to prevent h!m fiom acpetieeKtng
     'ch~rgebad~s° a~ a ~euh ofet~omer eewbe cnnaetlations end to give hIm fug to live on
     until he could begin rooefvi~g aommieatona from sales.

  1$.Cwncast plsad ~~e 'Platntif~f on an inavti~tdent, but oatnpan►gaPpren~ed pr~atn fot hid
     oondittosn. Under this pra~cam,the Plaintiff vvns unable ~o teoeiv~ the pmpe~ treatment he
     nailed to reco+~er fully, and on Narsmber 1, lAl~, hb eandlNon aroreened. He woe
     d~io~d wieh g~eneraltxd anxieey disorder. e~ecuntng major deprea~iu~ dtsoeder. and Pwe
     Tram Sa~ese Disorder("P'i'SD"~. During dais time,he could notsleep,could notaonaol
     hisaNereadng,could nvt tocu~,cati►ld a~ senaee~aber baste taatad cequtced Eor worts,and was
     ~cty trricabte.

  19.The Comgaay also!ailed to pro~v[de him with the foals n~ceaary ~o aueaed in his poeIt~ott.
     Ae a e+eauIt of his ~mrtoua po~itia~e thro~,gl~oue hie ongoing employment wick C~omCaa~
     Caenca~t'a svatent had Eou~ upn►~a►ce pratllee far cl~ P~atntiff. The syaCeen aa+ld c~yulasly
     a~alfun~don and e~ap hIe informatba amok d►eae seMernt proflla w5fich made it appear
     on actiWtyIqp as ifhe was not arorkin~ or die equipment he was issued ww~ld fail, making
     it impo~tbk foe him w da hie work.

  ZQ.7~' ~illtld~ A~li~ ~Os~ illtS~ ~.:Ot[et7l{{t appRCNld, N ~COtI{~ IIROt~~~ ~la1R ~Iltt~ B~laRt~tlK!
      disability doim. Ap~in, Comcasc was praa~ided soils and evidence of ~►t~ dit~nami~ and
      condition. He foa~eed on hb ceaoMery from Naa~ember 2017 until he arse ale a retunt to
      w~c on l~rc~8.2018 with the a&1 of medicatiaa Rnd as adequaa treaement plan.

  2I.Fteiae~dolty, du Plalnelffa usug~ed ~a make ends o~reec v~hite dbe Plais~df~ vas undergcrt~
     a~eaaaent because of poor medkal cavee~ge provided by Comcasc. The Plodnttff' belkvw
     Comca~ also did not inform tkdr emptoy~eee of the availahltity of AAte lneuracea in an
     underluaded efFoet eo Bnat~eiatty form its anplayeea oo tetum ~o wooric.

  2Z.Oa Maeeh 8. lAl&. tie t~aiatltf retuc~ted m arotk af~er h4 1enMe of ai~ue sled vw~
     diq~e~oted Irish Atandon Det1c[t/Hype          ►ley D~order C'ADHD9• He was finally
     prov[ded with medtcatton eo treAt hie condition afcer havving waioed two year.

   t3.Dudn~ h~!slur of alueraoe.tie E~aiatiff received 6096 of his bye sa~ry,spa weed uport in
      hb conaraa.

   24. Hoer. upon hla recu~n to arork, she P~tadfE was alma~t tennuesiiaalp Puni~ked hY
       Comcaas fa tu~ving tnioen p shorc~eerea dieaWlit~►1e~n~e of abte~e. Gma~aet dsar~ed she


                                                                                                     "s3.
Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 10 of 25




    Plalntii~ s~gnt4icant fexe as a ~+eautc of hia cusoomers caeoetllgg ~e~vioe fw not reoeh►ing the
    eUPt~ Prom~ned by Coracaet duNgg the period of hie leave (lm~o~wu in the company as
    'c1a~r~b~d~s'~• It was mxna~ement's r~poneibtliry to plea another agent ie i~l~ poah[on
    while he was~ kav~e to keep hk customers eatisAed. Ho+Mevet,baause theyfpikd co doso
    while he was outoa leave,t~ Pfaintlf~ lose the tn~t~tiie community he hud been setli~
    too for pease. inmad,Con~t blamed the l~ntlf~ fot their customers' disatiefactioa a~i
    foseuetoa~rscanalli~duty                 .Fueeheemat+e,Comeastfetkd to provide him tlt~ camp
    bc~uEita upon hie rewcn,~ wAs ctu~omaiy and had been previously provided.

 1S.Comes ~+~er peryvlded the L~inNff vWeh the infotenation of wheca the dui~ebacka were
    aomin~ ie~om;!te acs never ~twen aaoees ro etuir intemnl sya~etn arith this infortas~don. 7'he
    iNaindt~wor~Ced long!woes to aearclt for tke cuetoine~ that dlaoontinued dude service tmd
    euooeiefully x~rned tone cocoons co good atacw. He alone. was able to atcoeashdty
    oanvtnae         du cu~nen to c~elnue thetr aceounea. Ho~areve% de~pioe h4 etiorte and
    s~Mliry d~ e~weeae du per~bleme, Comte aril{ Exited to e~etum etu eha~eb~elcfees to hten.

 ?b.'Il~e Plat~tiff eomplxined ~ Human ttesaun~es about the cha           cka but +~ met with
     indifference and apathy. lna~ed~ Comcx~ fele~ty argued that !~ wu~ not in o~mplianoe
     Comcoet'e poli~cks as an eaacuae for not ~taylt~ him what ht was owed.

 27.Finally, die Puinti~ was ~ered A raidenti~t gala palcion with w la~vet quota in his lost
    community ~Framt~gham and Nat[ck, Mdosachu~etm.Although he dEd not wane die termer
    quoin.he was forced ~ n~lae the poaition berauae hie relntianehip`In hie pm►ious aces had
    baen i        bly dnnn~ged due to Gartca~c's lactc of oo~+era~e while he wa: out on lease.
    Caau~t oHeeed him thb pasitton ba~ause he was having more ~uaoe~ in this teirttory and
    du~+e w~ an open pa[Non. Yep ono again, the plaintiff was cknied die watamaeY 30d~y
    rangy •beaeAt. Fued~er,,chat moWnig..~ tt4 new pasldan, P~aintif~~ tailed m get hta
    oommi~iona Team the lea thAt he made in die last monde in his old sees.

 78.Nthough the Pinintiff was complaint with Coast's policka~ lee area canuinuouely treaeed
    aitit ucoer dteregar~ by Comcaec.Upcu► receiving We transfer to hie new poaition~ the Pt~+inttfF
    pppUed for his peddta'a 16oe~ ho~w~r.he a~a unable to doao becawtComcwt'a Articles
    ofO[~antu~tiar~ on A!e whh die City of F~amin~lmen w~a~e aired.

 29.The Plaintiffalecoed hie u~peevieon~ ~o ehts ~xoWem cad w~ inettucted to ~oh~e Con~t's
    preb~a~n co updsa ie hiaa~elf.kitoolc 30c~ys Ear the ptyofFr~min~am ooienn the Plalnd~f
    a nc~v peddlar'e ilanae. Dndngdais eime,he wAs chastteed muhipk times for noc being on
    hb"acP'and was eveawally forced to sign a twtia of C;orrectiv~e Action on jw~e 8.?Al8
    warning liter drat h~ aauetspend time on hip'turf." men            G'o1Ri~t~g1Ew l!w11e     ~
    for him ~o do ao.~Vlten die Plaintiff l~eaitaoed to sign atuti an un[~ir atsd ilk~al dowment,
    he wati told that if!x dW notsign the C~orncsiv~e Action,he arould lvae t~isiob.

  30.Camcaet also set die Plaintiff up for failuee btir supplying !aim arith poor aNipma►c. The
     Plaintiff inloxmed die lT Dep4utanent nun~roua cin~a of e1~e mutcttude of~lu was
        Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 11 of 25




               e~cpettenci~, but his roques~ were ignored ar deemed un{~xable a~atn and a~aln.

           31.On]u1y 17.7AI9.the Plalndff moei~d s call from his aawtk who infor~m~ed him chat doett
              t8y~anold daughter wAa being aaa~ally abwed l~r her atepfathcr.l'IK P~lntiffwAe exa+emetr
              di~tucbcd and upset. ~k cAllod his therap~t oa her emergency 1tne~ and she ~eaomaaended
              than he calve tw~a    offwwtic and volt hta primary care phyatdan or payrhi~M~ to dis~tta
              i~utewtgg hip pre~iptton dome. S!u faxed dte da~or'a note ~o Sedg~vEck Inaue~ae~
              Conua~t'a ehort~rm diutbWty pm++ider.

           3Z.The P~indfftminediately aant~ed hissupervisory B~u~di)ors t~MR)o~'~.~o tnforen I~t
              tluit he wns harir►g family troub~,city hb dRugh~er's abuse, and that he would need to
              arks a Aac day.?he ~aindf~also no~td that he t~nay need tke followi~tg dey~ well.

           33. Ms. Jor'e e~epliad~wthe"mom,"1'm sorry to hear that john. keep me poetcd ~bOut
              ~anarcow aad updnoe your dme in ESS.'

            34•The 1~ntnNf~ wAa ao diat~at►~t tfist he decided to mks ~ thcaugh July Z0, ?A18. He
               dacuemnCed this In Co~nce~at'e system per the pra000l and per 1Ne. ja~e'a inswctto~.
               When he iosged into du ayacem, he oouW sc~ he had plenty of flex sad vacation days
               eemaining t~a ver die throe days.Despite lxing notified ofthe traumatic alwallon oaurring
               in hb personal lt& and having numerow ~ecanda on Ale of his prior diagnaaee, Con~caat
               den#ad his request ~o use his earned vacodon dme for dose three days, pt~a~vlding no
               eeatonl~g.

..,..   .,..,3S.Onjuty~23,?A18.du Platntiffaonti~ue~i.to-kel umveU~ aeuctous,and wasexpeeis~uln~ panic        - --
                anacb. He dell 6adc into an extreme dsprc~lon and was unable c~o perform m~~y major life
                activltles such eatln~ deepittt, drinking, calf~tny,  dng or b~uaking hN oeed~. He tat
                locked in fife d~'bodeeom Eor dAys. He v~alaed hies primary are phystdan doaar. Dr.
                Y~gudin ac Mtddtesac Family Prnalae.P.G~ and eras men a doctor's Woos aocwing him froea
                wortfot an addiHottn! week from ]ul~► Z3~ 1A18 t+o~uly 30. ZOIe.The do~ot also int      d
                the dose of his cuerent mediaubn.

            35.Cln or around jul~r 24,2018,the P~elntif~ wbmitted a requestfar a ~hott~term nud~pti lasv~e
               too Me.jor~e.Tlwt morning,the Plaintifftiac~ed Me.Jory~e a plc~tture oftke doc~"s note he
               ~eaeh~d fi~nm De.Yagudin axuaing him from work, Patdn~ her on notice diet he waald
               natlx atcendieg the meeting on Suly 30,7A16.On jn~y 30~ 20lS,text Ma.joie a~~n with
               the ph000 of die doc~"s zw~e pra~rided on July 23. T~o1B. to eeuwe~e drat she l td received
               die Ater atae~e.

            37.On Masday.July 30,1A18,eke !~►intilfconttntsed cofeelanxious.:o ke kited Dr.Ya~adin
               a~ hie tha~piu. Dr.Yagudin movie him a nape aacuains hi~n fi+om vrrodc throuBk August S~
               2Q18.T!u PlaMdtPa ti~apfet ate advised him not to ~scurn to ar~ck end have him foe a
               nose e~oa~ him fe~om a~ar1c for one maneh. Both Dr. Yagudin and hip d~erapl~t faaoed
               da~e~or'a no~ea m Sedgwkk o~uak~g hta~ fioom vro~k.


                                                                                                        ~s~
Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 12 of 25




                                                                                           a•
 3$.In rssponie do ~aeivtng a calendar lmioe far July 30,?A18,the Plaintif~emailed Fdisebeth
    Dxnna, tau Human Reaouraa man~ga, the doctors' tee kom Dr. Yagudin and his
    therapist to ~nfarnn her drat he lwd noNBed his matu~er shout his ab~nae.

 39.On Augast 3,2018.Con~dut termtnat~ed the Pla[nd(falle~edlY a~u~iltng a ~etnttttiation letter
    to hia homy Comcxe~tfalsely chimed that1n wasaWentfrom vwork from juiy 1?,2018 nneil
    Auigusc 2,2018 wi~ut oom~nunlcallon,~v~en dtough he w~in aom~act with h1a superv~wee
    dueing ehts elms.The Platiuiffeventualty cece~v~ed the Au~usc 3.1A18 tec~er in the doorframe
    of hk house on Auguu!1.2018.

 ~0. On Au~u~ 6, 2018,the Pi~tntif~ began ro feel uneasy when he was unable to!a~ onto hie
     Conaa~ cqutpment when he auempt~d to email Elimbah Danna~ the Human R~onr~aea
     munager. He way ehalad to diacotiaer that he hnd lost aU saoea:to his Corneal eaaaU and
     pso~raaae as ofJuly 30~ ?A18.~He a~eaa~ed drat Comcnst hpd-ode an error and mimed the
     doctat~s' no~ea~ ao!u scot Ma. Danny both dou~ura' notes from his private email a600unt~
     provMig6 them yet again to Cameaet.

 41. Under die impression he wus still emplaoyed, ~e E'laintiff applied for Short•Term BetteAa
     an Augurs T.2018 with Sed~uvick ineurence.

 4Z.The PlaintlE~'dta~ooMencd ha had men ~erminacad only when he raxtved flee letoer on Aug~uas
   !1,1A18.The ktte~ e~ated that, while his beneflm weee ending dtu to his termtnaclon,d~i~
    would noc ianpede ate► Shoec-Term DEaaWlity ctnims he had pending.

 43. Ho~e~,ae a diKct result ofthe P1atnNE~s ~ninadon.Se~►kk cloyed hla ADAAA daim
 •- ~•on=Sep~nber Z7:~?Al& '8actcdndng 'his ~ claim m August 2; 2018, flee day motor -to his
     oermituttioit becawe Coma~etfefsdyand mattetouety r~pa~ed w Seagwklc thatthe Ptaintif~
     ht~ volumatihr tsimir►ated his ea~playmen~

  44.On Oaoad~er 4.?AtB,steer sppeati~g Sedgwick's cknlnl cfhis ahorc~taerm disability claim,the
     claim was cloxd as a direct result of Com~aec's dishauat ~cemena about el~;r facts
     wtrouttdMg his sepantlon from fire aomp~ny With no odor re~aurae~ the P~indf~ way
     fvroed to applyfor ue►emplo~yn~ent benefla.

  4S. Follo~wtng termination,the Plainciffw~ denied unemployment beneRoe.            placing h1m
     In Anan~cial dtea+e~ unfit he ev~enaaUy reoetved une~n►ptayn~ent bencfln an I~4n•L 19,20t9.
                                                               ----
  46.Coaa~atalso daianed that el~y ccled m canea~c the Plaineiffd►rougli his coanp~►email,but
      he did na ~eiMe any comn~unkati~► from drew cQncanin~ fire a6~enoa. Pee Co~acArt'4
      uandani poliry~ du Platnaff had upped uains hie oamp~nydaaud Mu~pn~ent wkee► he
      ar~nt on lane. HoaieMer,a~ec► though they hAd hie prlvaa sell pf~on~ numher~ ateemail
      at~d an additional~eetyoonmet inforenadon,Coee~caR only tried toeonmetthe Plnintii~
      duou~ d~ a~ed~ode ofaominunicat[on drat lee sour yat ~llawed m use.


                                                                                                .6
Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 13 of 25




  47.Cam hAs perviowty chimed the Piafntif~ wAa aot in o~mmi~atcation on muhiple
     oc+~s~ie prtaR co the events of jal~t ITS 2419.fn+ployees aie even iPAude and c~tt phones
     f~o~t Comt~at yids wmmunkallon eppltcadona;leowe~er. these applEcations open do not
     a}wa~ woh.'tl~e P~intiffofaen had trouble wtth tfiate applkatians dur[ng the tine he wAs
     RUegedty not in aommunkallo~ wilt ComcAst.The Pi~inNffaubmlcad nunurone
     to IT in an atoempt ro reaolwe d►eae issues and alto to report problems arld~ cell pkoe~e
     ooveisje,buc tie e+eque~cs and e~epore+~ wexe ~+►ored.

  48.Com~ac also retaliated against she Plaintiff by providing fa18e dowmentaciat in e~ eu~ody
     tee. The Plnittdff had rcqueeoed a temporary child support e+edttatos+'pedflcnity due ~o
     Com~xat's acttoas acid hia diminished rnmings. Reapondis~ to a Subpoena Duaw Teoum,
     Comcast[ahely claimed dial the Plefattf~ ab:tnda~ed ills job. This reault~sd in d~ Plaint[(f
     being ~entenaed to jail!or thMe dnya during Chrt~t~masof 1A18.

  ~9.As a direct ~eeuk ofComesse"a fi~be documents.die Plninci~'hxa ainGe hsd Eo pay i        d
     child aup~cxtfor months du►t he cannot afford in order to stay out of Jail, even though he
     wastermi~a~,cd and has been ac+a~We ~o ~eca~uer and end a ~b urtlt reandy.

  30. Acta directcultofita n~ligenae.Coma~st oerminn~ed the Plaint~ffdapite bergabundantly
      awaee that he was aeekln~ teeatntent a~ a result ofdoazatk violence within hisfamily aniG

  51.Coma~st'e dt~rtcsrieacbn pad falaehooda I~avoe metal ~e Pl~intitra anxieq► send
     depre~ior.Due to du facto of hia health ineuranoe~ it fie ata cost him aooea~ to the ~easdsy
     attd comfortofhis~pHtru+ry care phyaict~n. whaaa=he tewted•and:ueed:for o~+~t twex►eY Y~~          a   c'
     Without the Ana ofdie doctor wha hoe luto~wledgt of hie entire medical hUtary, the
     P~aintilf has lead dif~lcult rareivfn$ aeatmentfa his an~dety and deprepton,cat~i~g him ~
     aufhr more and greaar panic atmcka. He wAs h~miliaad and unable m provide baatc
     for hle family.

  52.C        'a wrongful ~ern►inatton and denial ofunempIoym~nt beneEtes caused du Plainttffe
     oQ default on creditorris. hia mort~e,car kwe,end peraanal ban.

  53.The Piaintlff Algid a C~o~ of D1~crinsittAtloa wttl~ the Masaacltuaetm Catnm~ion A~tinu
     Di~crimicuuiai+ Ccite MG1D") pue~ane to M.G.L c. 1518 oa February 19, 2019 and
     ~tnended Chia Uear~e on October 18, 2019.



  54. 'ihe PiaintiE~ r+e~lte~e acrd incorporate the pllegacions aet Eorch in paragcaplua i thcar~h 53
       aboMe ws ifutforth herein in fu11.

  5S. •It b woetl eae~WWud that Mwaeachuxne 4~w doea not protect ~t~witl entpla~ea wl~o dahn ~o
      be flail for their complaictts abau int~emat eom~ny policies or flee violation of ao~npany


                                                                                                  ~7`
     Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 14 of 25




           n~la, even ehou~h the ea~ploy~ees' scNona msy be ooneida+ed appropriate aad '~1ly
           ~~'"~~~                   ~~~~+~ ►~.. 77 Mme. App. Gc. 135;:139(?AID.
           Hoer,an at~a►i!1 emptoyioe wl~o is dlschar~ed fac sepotdt~g criminal activity c~ h3t or her
           empl~er 1~ anthted to perfor vvrongtul discharge. Si~ra o. E~n~nan~elCdL,
                                                                                  .~ 4?S Mew.7b1
           t19g7~

       56. The Plaintiff made an lnternel aoiaplaint m his direct wperWsor that he could etot obtain a
           pedd4er's lia~nee beca~ue Con~ast's own Axdcka of Organisation ~n Ak with the City of
           ~ramEngham vMere a~pi~+ed.

       57. The Piaintjff eked for aaetua~e from Comcxst to ensure t!►at he was in oampltar~oe with
           die laa► bat cecelved nom. Hs was told co            the situation himself, and ro wntinue
           sdtin8 e~eapite havi~,gjust info~ned Comaiat drat d+ta would be lltegal due toCameaet'se~wn
           n~l8ena•

       58. In ~eai ofbeing llre~ ifhe did notcomply,the PlAintil~'continued wo:tcing withouthia 1loence
           until it wasevent~alty approved by die City ofFrami~fiam. As much w~ ap          nuly8096
           ofdie PlainttE~'s turfway in F~amfngham. He wan f+~r~oed m work ouoetde ofhie turf w s~ro1d
           il~Uy peddling, but if he did oo, Comca~t'e equipment did not eonatdec tine Ftaittdtf as
           warckir►g during that time.

       i9. Comcast~oali~ted a~gaintt tl~e Plaiatiffbtiaerminating him in part,baause he made ineernal
           complaitstsabout ire ill~la~dvittea by[nlitt~to rearim ArdclesofO~ganlmdoa. Comcaet
           wAs aware that nat only the Pmindff was ~Ih► peddU~+W but t~u~e hs Attlde~ of
           Or~eni~tto~ were acpiced.ef~a~e1y every employee wlso continued to peddle io the t~cy
       ~ ofFrami~am was doir~ eo Illeg~Uy.

       60 In ~erminattng the Pratntiff~ Comcastti~ncialty ruined die Plaintif~a And caused them ~na►t
          emoti~ldam.

     WHF.REI~RE. the Pl~irniff reepectfiitly den►aads c~ac judgment enter on hie behwtf a~fnu the
-~   Defeadsna in the ma~cimum amount allowed by lac plw inareat~ ooar and at~orneq'feed and sll
     odoramouma which ire ~eaoMera6k by lsw. Plaintiffnq~eacsjudgmentagAln~c she D~efendentand
     an awa~+d ~.bu wades whkh wW adegw~t~ely competeace him for hb damns wid ~aee,to~ed~er
     wide in~esc and cola.



       61. The P~alndi~e te~1le,~e aed lnoot~poruoea the a1le~tions net forth in RpregraPl~s 1 duot~gl►60
           above ~e ifnet forth Mein in full.

       6~. Pursuant to IN.G.L c. 149.$ 15Q an empbyee an initisia prh►A~e ctvtt action ~tr~et an
           eangbyer far vlatauoe~n of vacla~s se~Cns of the M~echu~tos Wagie and Haut ins.
           inctu~ting t~ Payoaent ofWi~a A~'M.O.L.c.149~ ~ 1~8.


                                                                                                     :;~'
Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 15 of 25




 63. The l~aindff Akd s Camp~laint and rca[ved permi~ion to pursue a prtvaoe rlgt~t of action
     from the Aenorney tk~ec~i's Of~ae on &~rember 34.2019 a~ re~uie~ed by M.t3.L. c.149,
     ~i511.                ~,

 64. VVhik t4~e complaint to du Atwrney C~e~►er~l moat be made prhar to initiating suit against
     the emplay~:c. dais wmplainc can be made af~a die emptc~ee's termination.Smtd.~. V~t~
                447 Maw.363,368{7.O~iy

 65. ~Vhik ott short Dena dieabllicy Doti FMLA leave.ComcAu aondnued payingthe PlAintlffd~e
     tequhed 6096ofhiss~1aryfmrn Nav~ember 2017 untlt he returned in Marc1►?A18. How~,wer,
     upon his return Erom d~ia ka~e of absence, Comcest immedisody been ~eutng him
     chargebx~kaf~ anycustamere thataneetkd =errioesdud~g du time pertod he wason kav~e.

 66. Tluae were comm~oloct~ that he had rightfully ean~ed~ and it wns Comaaa's responefbllitY
     w1~ik he v~aa on 4e~n+~e to ea►sute that cu~omeus continued to be aatisf~ed with duir services.
     Tl~y failed co provide gaper aouerage fos the I~ainetf~'s sre~n, whkh vaulted in cua~unur
     di~atiefitaioa and $e~vice canaW+ttons. Ya,Coma~st still dedua~eci ehe aenounee fi~otn hie
     pay foc thair fa11u~ effe~[v~etY reducing his eacn~d wages during the pra~ect~ed perbd.

  6Z. 'C3e~cA1 Lava c.149.$ l46.thud par..as appeasing tin St.l9S6.x.159,b v~►ted wfrere an
      empbyer fait ro pay eommi~Eom `whin die amount of wch caenm~stone ... has ban
      deAnloely determined and has become due and payable co (and employee.'"
                             68 Masi. App Ct. 759,766(2107).

  6B. 'fhe aat u a eMet kabitity rtatate astd tht+~ any vio~atlon aatonuulcat{y sesulss in damages to
       the anploy~ce. D[~mn u Ctar ofAAaWee;q64 Maea.437,452{7A13).

  b9. "M e~nploy~ee a~ ~gcEe~d who pre+rait~ in Bch ao action al~xli be awarded aebte d~enq~s,
      oe Uquida~ed damng~ee,for any laic area end other bene~n and dutll ako 6e awarded t~
      eoeee ~'doe lio    n and e~eaaonabk atcoc~'fea." M.O.L e. I49.~ 1~.

  T8. '"Tl~e Wye Art pe+asccibea'eptcml conaaua'that exemptemployers from isa pravWa~ne. In
      a p~+o~iulon ofdu Wo e Act fiat appeared In Sc.189b,a 24t.~ 1. clu Legielatue~e decreed
      ~t`[n]o person X11 by s special 000tn~t aids ae emptoyce or br pity od~er manse~ppt
      htaa~elffcam [tt►e 11Vare ARx!•' C3. L c.14~4.~ t48. An sg     nc co dreu+m~►t du Woke
      Actis 111e~1tin arhen `fie artan~ement i~ vdantary anti aeeenad to.'"~ili~.tE~.TiW6i~..1~.
      46Z Maae.1b4~ 1T0 QOl?J Wdn~                             .458 Maas.756,764?61(2011?).

  71. ?ke ~p~eieu judkial CouK tms held ehAt e1~ "accouaa~rec~va6le ftnandn~ ~y~em
      tnaorporu~ciinto[anempl~'alcort~ac.wl+~ch clae~ifles whatare jn ~ea~ity wadesfar veotk
      petfo~med see eompauatlan'advanoa'thnt mwy be recouped,viofntee.tfi~ `apecl~l contnu~e'
      prateofthe ~iia e Act"' and ehac she nnetlad ofreuoupnsent under du aonte~ncc. na~eely



                                                                                                   .9 .
     Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 16 of 25




           the'chm~ebncka,'conatitueddJ lmpraper deducdona for pu:poe~a ofdu11V~ Aet.'9y~
           y. CSI[NA,~.tne.,460 Musa.484.492(7A11).

      7Z. The ch~rgebacloe thatComcaecirsu~d quplifyasspecml~necaress~sre d►erefore a viotacton
          ofehe WAge Act.

      73. Even If is deKe got qualify ae a apecta! coatraex~ the PlnMdff eAmed theme an~ea end they
          wrrs we~rgluUy ~ialncad from Ms pxy became Comaiet rued +raw                to die PlAfn~
          err n though he wason medEa~l heave wken die cwtomera canoeUed dteir ~vtaa.

      T4. T!u P~indff had completed hb required ae~vtoes aad the        ne~a' aattsfactton was no
          1    '~+~ ~P~~~Y~ ~i~u!►          bec~auee he wAa on  medfat  ksve. Buc Comcaet edit
          dalucred it fran his pay even though R should l~sve provided pdequat~e aowe~ge far his
          aus~omee~ while he wason leAv+e.

      T9.'The Plaincif~ infoaixd Comc~et on multiple coc~atw~a~~ thn~ ehe dsargeback"s aer~
          unre     ble and that 1~ had na bc~n given the cuasomatl►'.H~daYiamP be+~eR~

      ?6. He q~oke w Ma. Dante about being denkd two rnmpn in a short two~month time span and
          all die char~chs the!were oowtrigg abet he resumed fi~um kar~e.

       77. on )u~ zt, Zoi~. i►c ~►pt~i~a ~o tNa. Jor~ a~~ ~ d►.~                         ~ai~ her
           sce~oenshans ofhis payrl~eck 4nd'S~nry bola.l was Juat trylag too swallow dris."Two cninuoa►
           ls~cc, he aloa mid a s~eenehoc ofhisaam ~abk bW and wro~e °Cannot word nay oan
           cable." He ttev~er raetMed any response from Ma.Jove.

--   r-?8~ Maaeachu~~luu•hetd~that,Qatthough an•emptoy~rinayexercl'e•dia~+eclan~ia admini~draeion~        ,
                                                                                                          ~
           of eanmie~an plan, aar+mi~io~s wkkh vrere deilntcely deeecmined ac chs time of nn
           ernpby~ae$ ~erminadon are noc disceecionagr. lylcAteer.~ ~4~ndat ln.. ~,pf Ate.9Z8 F.
          Sapp. 2d 280(D Maas.?A13)PVUhile idle empl~le~oerde~ wbxandel di~retion in die
           adntlnt~ratian ofdu oommi~afon plan.dse eorn~nisefaiu are ttat thanseh~ea discretionary...
           Crhe emplo~yer~ may sot awafd liability under the Wa s Acc merely byr u~erein~g ertention of
           dlacreti~ not o4 aw~ud oommi~ions."l. ~

       ?9. Comca~thes a ~tetorY~P~P~1/tutlin~ to paycomm~iane.Comcast alsofilled to p~q du
           Maincii~'fug ooin~n~etone earned p~to~ ro h1s a~ana[er to du NaNc1c po~~ion on iNay 21,
           ?A18.

       80. Comsatfurther fiiUed ~o psp the Plair►t[!~'du aamm          he ~rned f~ h!a flnat ten days
           ~raldng on du 5w~aepsteam.

     WHEREFORE,die Plalndff fitfully dems~nde etu~t ~udgmeec enter on his bd~lf ~timt d~c
     De[endanta!n die ma~dmum amount allowed by!aw ptw In~eceet, includEn$ te~ebk daaw~a,eo~a
     soilattote~y~'~eee.anti aU eelx~ ~mount~ which ere tsoonre~abk bylaw. Plaindffe~equ~a jut~atent


                                                                                                    10
             Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 17 of 25




                                                                                                                   S~1


             xgaimt du D~endant and an award of lost w~gea which will adcquatety eompensate htm foc hte
             damages wtd la~aes, together with it~tenet And coats.



               $i. The Pl~tes~ffe re~allge and ir~rporaee the Allegations set Forth in pacagn+pha 1 throggh ~
                   abctie ss ifset foreh lre~ein in ful4

               82. M.G.L.c.149~ 148A uaxs,`No empiooy~ee d~aU be panKli~ed by an employes!n an~r way as
                   a result of any salon on die part of an employee ~a seek his or het r ho under du warms
                   and l~ura pra~ri~scros of efiis cl►ap~e~* M chuuaec~s l~aa held chat inarnai complaints of
                   un~W ara~ee w(Fiae tosuppo~ta claim ofreealistary terminat{on.S~nleka I~D't++per P'~gp~,t~C~
                   44? Maas.363.367(?A06).

                83. Mmeachu~em has hetd that tncerna!cemplainta of unpaid            auffke to support a daiu~
                    of cetnliatory tennimtton. ~.~. Wtna+► PIm~. LtC. 447 ~Mnes. 363. 367 Ct006}("A
                    complaint made to un emploMer (or a manager of she en~plo~er) by an employee who
                    reasonably betteves thot the wars he ar she has bean BEd vlalAte such Isvvs readily qunUEk~
                    as such an `acdon:7.

                84. The P~ind(fennde numee+ow eomptaiinm to Comsat about the cha~e6atcb aad not being
                    given cue~oa~ary 30day rnmP P~~•

                 8i. Shotdy aher making theme comptatnm,he was taaued hie flt~t dte~tptinary ~atona in jum
_ .. ~   _    ~. ~:1A18end then term[nata!on Au~ua.3,:201$.•.»~#,   ,~=. M.~~-<>., ~-~;     ~~
                                                                                             -           ~         ~~    .v ..

              WEIEREFORE,the Plaintiff r~pecdully demands that judga►ent enaer on hie behalf against the
              Defatdants to d~c nnucimum amount ella~ed bylaw plus inoereat. including t~ebk dama,~,notes
              and ~toorneya'ka,and allot'her emounm whkh are rcaov~e~rable by law. Plaintiffralt~ata ~d~ment
              ~ainst du tkkndant and an aa~cd of lost wages a►hick wW adequately compe~noe him for leis
              darnayes and loins.tamer aril lntereec and cosos.




                $6. The 1~airuiff reallege~ seal in~rpoeaaa the Al1e~allone set forth in Para~Plu 1 tl~e~ough 85
                    above as ifasforth herein!n fail.

                 87. Pur~anc m M.G.L c.149~ ~ 52E,employers of fifty or mote emplary~ea mt~et grant up ~
                     ~tteen d~ya oflease in a twelve~monch period oo an empt~ee who is eie~er d~ ~ctim or a
                     family member ofa vkNm ofabwtMe behavior.including domestic violence.

                 ~8. The emptoyre muu be using the ~►e from wodc to °~elc o: abtpin medkel at~oentlon,
                     counulh~,vlafm ae~vioaor teBat aae   secure houein~ obewin a peotiective order frown
Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 18 of 25




     a coutt~ aPpatr in oouet or be~re a geand jury; mcec wieh n digNa acc~tea~y or aher Iew
     enforcement ofAdal; or attend child custody praceedin~a or addceaa other ipue~ directly
     rdeoe3 w ehe abu~We heE~avior Agetnat the emplo~ae or iamlly member ofthe employe'and
     tie ~nnploy~ee anna be "fie perpetrncor of die abwtve behnvtor a~xtnu sash eenploKe's
     femlly a~nbec" M.G.L.c. 149,~i 52E.

89. No emplo~rrr nay t~emie~aK or diacriminace nsainat an employee for s~isin~ his or her
    tights pue~nt ~a► M.QL a 149.~ 52E pnd `upon the eR►ployee'a atuen from aadi kav~e~
    dre employee shall ba endued to reetorallon too the emplo~ce's odgtnal job or t+o sin
    equtvaknt po~td~°M.O.1..c,149.352E.

90. pn duly 1?, 7AI8,the Plaindff learned ~roim Ala exrwife that his deugh~er's stepfather was
    abueing hey He atoempc~od co return to work but wns cao di~raught and pn:m~ly nodAed
    Ms.Jorge in a text meees~e that lee would 6e taking a Aex day and m~ht also raqutre die
   -following day. Me.joie ~ reepc►nded °!'m sorry to hear shat john. lGsep ate post+e~ about
    ~morro~w grid update your time in ESS."

91. Durf~q hisliens autofwo~c.du P~aintif~ was         link to handle the mentaland eanaMdna!
    w~ei~ltt of tkis news and provide support too hie daughter. He ln~mediatety oontacoed his
    ch~phc aho neommended ehae he talus a t~ve ofabsence hom v~roeic eo pre~+~c she
    of his Job from carMbudng ~o the atr+as ofhie family proble~as A nd a►usl~g him to te~aa
    into a depressed and arodoua uate.This also b       e b~c1c hla pank aka arhi~ lu~d been
    pr~viomll► aeaad.The Platndf~ c«ti        muse 4~ac dyne for Duty 18,19. And Z0,butthh
    request was ufdmat~ely denied without rational reason by Com~nec.

 92. U~arare ofdre denial,d~ Plaina#~ promptly apptkd for short tam d~atbility And pravWod
     ci0000~s noesto his ~pecvisors and Mi.Dan~ra to demonarate ~ihe requhed additional
     tbne o~ to handle hb medical conditions aa~cerbated by kaming of hb dau~e~a arxu~l
     abuse.

 93. "If An un~h~eduled abaena ooa~r8,an employer shall not eak~e any c~egaeive action a~inat
     the emptoye~ if the eaploye~.w[thin 30 dayre fe~om du w~auchortsed ab'ena or vvi~in 30
     days fi n the Lu unauthorised ab~enoe to the ti~aa►na ofao~uea~c days ofu~utho~l:ed
     ab      ,pt+evi~lee any ofeha cbcumentatfat ~rtbed in P~n~graphs(1}to Cl?~ It►cluefre~ of
     wb~ct~t(e)." M.O.4 c.149.~52&

 84. Yet.~+thot~t Cana~etwas fully aware of die Platntif~s traumatt~ fetnil~r eMenta,h4oMm
     at~dirnl dieabilitta, and he provided dam wttfi doctor's motes to a~cuee 6ia abeeieoe ar6Qe
     lee was a~vniNnB ~mP~ for ~leoee term dt~t►biltey. CeEmcaa e~rattna~ed du Plaindf~'on
     Attg~sst 3,2016- N~nl~utdy leis than thirty rya pfae~!tb unidsedutai Mena.

 9S. Comic n~er gave else PlainN[~ die oppo~tunity to provide thb documantatbn wiehin die
     peclad Praecribed by tan. as edere~ad above. The Pialndf~ was termiewted oa August 3~
     Za18.ofoer Caatcatc allegedly sent him a letter eoatle~ that!ftlKy did not rcoeiMe A tapaa~e


                                                                                              12
Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 19 of 25




       from him prior to juty 2Z.lAlB,that he woult! be teeminated. The 1'~indff nev~ec e~eoetWed
       tt~ie kt~er.~ctd Co~tcaeti~na tepeacedty failed to product am► eWdence drat it was delhKred.

WHEREFORE,d~ Plaintiff rape fully demands that judgment ente.~ on his befsalf Ag~ainK t~
Defendanffi in the masi~num amount allowed by taw plus interest, indud'utig t~ebte dames ao~e
and etooreeys'fees.and al!~fiec amourns which are teao~erabk bylaw. Platntif~ reque~ )udgtpent
a~aieac die Uekndaac and an award ~~t wa~ea which wtQ adequately competeate htm for his
damages and losses,to~edier adch interest and oos~.



  9b. The Plsineit~e~1le ea and incocpo~e~ea the RlleBattone a~ fonh in Paragraphs 1 through 95
      a6on~e as tfset foetfi herein In full.

  97. Ms~shusetea wu~te have held fat the kgWatuie's inunt was for t~apur 151B's°bead
      exduewlcy prawtalan...toosubJectn!1 di~ccriminadon claimstosome adminimative scrutiny.°
     ~a l~[xm~pdiaia~.,422 Mass. SSI,555(1996)(eidn~ Cl~a~d•v~(~j Mm~l~r,.,
      4l7 Mesa 580 585{1994)).This was intended to pt~evoent daimnn~s from "~idadep~pin~ c.
      1518's adanin~t~attve prerequ[aitea." 1d et535.

   98. Haw~eMer~ eMen~ oocun~ed poat~tera~tnxtloa whkl► are se~e~ce cauae~ ~aaione unteluted to
       ties c.151B Jaime that the Fgaintiffhas ~llegcd wguir~sc Comcaat.

   99. Cow falsely reported to muteipte eou~aa that du PlaMtiff v~ofuntarily abandoned hb
     - pastdas at C~rnnc~t:tn~cbMB a4,they► ptcem~ttd to~ArarNally tutu hi~n and causes!liii~i to
       spend Three dnyya in ~1l during t~rtat~as of2018.

   100.To ~Ner 6~s the tit~aeg{t~ent infliction ofenwdoaal dtetreas. e ~ainttt~'mwt pew
      "(1y negllgenoe: (2) emotional dlsn~;(3) aatwtton; (4) physical h~tan eeanfkated by
       obja~re aymP~otna          and (SI that a re~onAble person would l~av~e aut~eeed eanadonal
       dbtcae under the ci~+cum~canee~ of the sue."~tl. R~+~+.60 Mesa. App.tit. 799.801.
      (204)(dei~g Payron v Abboa Lab, 3Bb Mnet. 540, S37 {198Z~. To demon~a~aoe a
       defendant was ~gltgenc.a ptainttff moat esc~btish diae'd~e defendant wed him a duty of
       aaaon~bk true.tlse dekndanc breached ehia du~y,daena~e reauteed ca t!►e pt~intit~~ and the~+e
       w~a eauisat c~latl~o~uhtp betsdes beach and tt~e damage•
       ~,,,~r.,Na SUCVZOII-01ZI2E,101Z WL 3637246,at'3(Mass. Super.July 16,?AIZ~
       affd sub Horn. doe Na Z K G''hitdnen's Hasa Mal.Gb..4l~ Maya. T10t2014I.
                                               P


    I01.Ratty.Comsat had s duty ~o the Pi~intiff ~o exeedee c~aonpbk care to avoid ~u~ng halm
        to him."`lA!dekndanc ayes a Joey ofcare w pa pea~aYa who are foe~eablyeedang~ered by
        hit aondua. wide rapc~t too ill rialas a~l►kh enxke the eanduct us~er,~monal~ly dan~eooue.••
       j~~~ 44? Maw. 141, t47 t7~A06)idrl~~ T~s~~.~'~~-                        !   ~~ x.131
        Ce1.Rper. t4,551 P.2d 334.




                                                                                                 13
            Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 20 of 25




             lOt.Comcoatknew thp~ in falsely repotting that the PlainNffdtat he 1~ud a6andaned hb poatdon,
                 it would undoubtedly ao~t him and po~sibty cause atgrlAcant flnaR~dal d       to bah him
                 and his faa~►ll~r. 'This way vercainl~r a harm dart they show have mken rea~onablfr caee ~o
                 avoid b~ teWng du mom.                                 ..

              103.A$ n die~at result of Cotntywt'e dishonesty, n~ena, and oontlnwed actions ~ftxe hte
                  eerrninatlan~ the Pisintiff au~red panic atptcl~ weight gain aed lae~, and oti~et phystcz~l
                  ailments. He suffered short term memory lam and easily ~twhat he wAs doing or what
                  he wAs,otng to do,sev~ecely af~ect[~ his ability to do even e    y act[vlties or to learn new
                  ~aivitue~. Far exi~mpk~ Ptafntiawoutd getfn theaar to the grocery ao~re and foe~et~rhere he
                   vas heal ar whae 6e rued to do. Carta hauls "co~semed die phyakel menti                   on
                  standard to include symptoms such as ha~d~l~a~ ~ dinrchea. as well as ailmen~s whtd~
                  impair a pet~on's dally l~k.".SaWuan ~. Hns. Qa Ca,414 Mass.129,139(1993)(noting such
                  syn+~ams wch ee faNgu~ hetdachee~ a~eighe loa,etcep disorders,, re~luood IiMdo~ ~amach
                  pain.loa ofappett~e,a~ othees as eattsfyleg the p!►f~lc~l manifatadon deme~.

              1047'h~ PleinHffis sotfuet eying co support hlmadf- he has a farm{y thmt dependson him.My
                 reaea~abk person would haae eufFered aimitar emottonat dietcrsa as a result of the atce~ o[
                 ~va~rying If tluy w~ouW be ~bk to reaew~e financial a~ieeanae f~o~e~ the ea~re to pay their btlte
                 and feed ti~eir ct~lldcen.

              lOS.Comma a4a[sleety prod daaument~ that Plaindff'a v~otuntnrlfy abandoned die po~itian
                  in rra~ron~e to a aubpoe~ by PlaintlfPs ex~wik duriiyg cuetalr pro~eedin s. In doing m,it
                  wasckartyfo~aeeaWe dwtday would adMa~eety affacc h~ ef~or~s co re~ua hfa d~W support
                  obl~a~ort while he was eccu~gting to g~ back on his felt.

- -.   ~ ~ "'*'106:TiendieCoiiK tea(iied abortCoa~caet'a report;•du'It~e hdd dac'th~ Plaintiffwas guilty -~.         .
                  ~eos+eempc far his failure to pay child support end refaced cl~ildcore ~pe~►ses.

              107.The G`ouet e~elkd on Comaist'd report and stated,"tl~e D~efeadant,wiutupy and tnsenNon~1l~►
                  a~ndone~ hieformer emplaryment arlck Comaiec by be[n~ ab~enc arld►ouc leave for e6ree or
                  more cos~eaudve days,teautting in his atmtnation."

              IOS.On Decembier 21.2018.the Caurt sencen~xd d►e Piaintit~'to chirey days in d►e Vt/oraesoee
                 Coum~r Hatue ofCa~ect~ unle~e he pulled the aentenoe aril► a ps~yiaent in die amount
                 of3?..SOOd10.

              109.Becawe dre Pl~inr~ could not af~rd to pine she ,encsnae. he wf~ered three days in dui
                  anal du~r ca~W borrow tke zao~►ey f:a:n s fatuity friend

              t10.Whik she Plaintiffass in jail, his all wasstd to humph feees~ exace~dey l~1A ~ehma.
                  Afoer e6c ~equero a~a doexo~~ ire wee eMeeuualty sash becawe he wad nru~lin~to beead►e
                  but vva~ told d~saw m~tng dut he ~ooutd da for him.The Pla[ndEfsunk in~a s doeper
                  dep~ton and was amoet completely unre~ponaNe.Theohs                      toalc aww~y hie


                                                                                                               14
Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 21 of 25




       mattreea and btanka, and tnformed him that he had to respond ao~nehaw when they
       theclued on him every Af~een minutes oo ensure that he was alive and sotin diocese.

  111.VVl~n the PLtntit~d4d finally return hoau.die eYperitnoe had emottonaliysmri+ed hitn,end
      he atcugRled to hssu~le ~+ery~day activities. He regressed intro s deeper depressive aoate, nwre
      severe dtan lie had enter beep► in hies tifie. The shame and stigma from spestdir~g time!n Ja1l
      and Hoar havin~g a reaocd only worsened hie Already f~agik menca! woe and lugs int~k~ed
      wide hfe obain[ne galnfut empbymena Any reasonable perm would l~sMe wffered
      emacia~noS df~tr~e of ~ffeeing fsam she cc~lieian~ in ~e ~~1 beaiwe they wee u~Mc m
      ~ifard child euppoxt. e~pacially alien that failure to pay was due m Canc~et'a oan
      negli~ena~ tlee.and neealiatt~.

VVHEREPDRE, the ~ts~inttff reepeafuUy denumda that Jucl~aunt enter on hta behalf a~ulnst the
Defen~nm in du ma~cunum amount allowed by avv plus interest,colts and attomrys'kee„and alt
a~rer amoueua which rue eeoov~e~aWe byfsw. PlaintiE~requeem judgementagninet d~ Lkknt~ntae~!
an aa►ard oflamt wn~ea whid~ v~►itt adequately compensate him fac his dacaa~ea etnd [oesea, mother
with in~crat and cans.



   1l2.The Plaintii~ ra~nlle~e and incorporate the ptleg~ttans setfords in paragraphs 1 through 122
       abaMe~ ifset forth l~eln to full.

   113.M.Q.L c. 175 ~ 13gA eattas "!f any tndhrt~dual inauted under w group lik ittia~tance polky
      •he~xher hued becanee entitled undue du~tenr~s ofsuch policy~ wnveet to ano~eer type.
       of life lnsurnnne aithln a apedfied tittae sfcer the l~nppenit~ of an tuent~ such certlfl~ttc~
       hoWec rkall he nottRed ~ wch pst~+tle,~ and its dusadon witl+in f#t~oes► t~ya after du
       happening of the Gwent; pso~vided. that iisuch nods be ~tven man than $been days,, but
       !ea than ninety days afce:the happening ofsuch events the tiau alloroved fot d~c mce[d~ of
       such pri~rl~e ~aan~er~ton dwl{be exceeded for fihan days afoet the gluingof~h noetae,
       if such rtodae be sot given wtehin ninety days afoer the happening of the evin~ the time
       allowed fear the aoerciae ofsuch eo~mreton prinik~e ehAfl rxplre at the end of wch ehuty
       dais. Wcitoe~ notice by die employer ghren ro tke certificaoaftalde~ oe n~niled en dte
       aeed~ta~r ac hies last 1cno~m addcr,~e. or wdaeea noNae by du inwre~ mAiled oo d►e
       c~dRatte holder attl~elastaddnafurN~hed toflee insurer by theend,~hatl bedeeaned
       full complUUnoe wit tip p~vlAions oftl~i~ =u~Ivlel0li foe'tEte glviYlg ~iloda'.'          .

  !14.When dye Pi~int~t~ was working for Gasnc~ he had a8roup life ineurne~ee pottcy arhl~ Mery
      York Lfe Inwrar~oe Company wteh caysr~ge ofS1.500,000 e~ emus efiat!Us fut~ily would
      be suppo~oed should anyehin~ enter happen m him.

    1l5.However. when he wee termMaad by Cam~aat, he was na nottflal that he had a aeroin
        d~itame in onkr do traadet des policy and by batkdAtl~g his ternninatbn to August 3.
        Z019~ sue e+otled abler die 34dny cap.


                                                                                                    i5
              Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 22 of 25




               116.Thus.die Plaindi~'a brae a@e du~n~ged on tlue paliq► oo I+t~ current age which made die poltry
                   noe►~c~nderable. The Pfxintiff way forced to drop the poltc~r and remav~ad Any Anancte!
                   eecuctcy fog hia faintly.

               117.As a ~eault~ Comcast !~ Uable far bia 1Rdc of Snancml saucily becaure they fattcd to learc
                   wrttoen notice in aompGana with M.G.L.c.175$134A

            WHERF.FURE,die Pisint(f~ resp~duily demands that judgment enur on his bd~Alf a~in~ t!u
            Ikkndanm is the ma~clmum am~ntotlon~ed by law plus in~ereet.ooa~ and atc~ormey~'fees. and alt
            other aanounts whicH see reooyerable by Mw. PlniadifrequeeosJudgmenr agaimtthe Defendantand
            an awwstrd oflo,t wages whtcl~ wQt ~degwtely wmpensate him for hb damAgea std lostea,together
            with in~et~ and ooars.



                118.'fhe Plsintlf~ reslk~e end incorpo~e die ape~tbne set ~h in 1 th~+nt~gl~ 11T above a:
                    ifset ford► het~ein!n tu1L

                119.T~ bring a Zoas of caneo~tium action, die ptainNff ~ttwt demonea~oe that It to the proper
                    P~n1► ca befog tl~ action,a ooreioue asaaueed the io~ury,end a laa~ ofoonsoe~ium. DratK
                    F~ UIl~ BrCo..364 Maes.153(1973).

    120.The Commanwmtth of Ma~acleu~etm raognixes the rtgl►t of elthee ~pot~ee to recover
        dama~da for toss oftke other spouse's ca       um.Dlat ac 167bBt me abo No~nean,v. Mays.
        Bay Tip.A~ah.~ 403 Mass. 303(I~(finding that by the ~► nawre of a marrix>e~
_~'~.  epoutea depend-on o`" nt~anadu'r'eaoci~ty,eomp~tone~iip;leNe;   -and~wp~        a dea~e~of~'~°°
        intensity nos aormaliy prsaent in other rrtallonahips and injury m spotae that impate+s his
        oc hey ability ~o le1Rq t~ othe~a naede In tlmt Ord ~dinaeliy !e uniquely ~ertow.
        tdeaditaWe, amt! predletable and is relleaed in reoagnition of~ht of Reovery for lae of
       :po~enl aotuorttu~.

                 121.Recovery for ices of eoaac~tlum V a~ratl~bk a~ Qlai~tifK~ bay! an a negli'ena acobn.

                     ~n t~~teed party can aeelc lass ofcoru~ortium beeauee he or she b a person whout the ~etkr
                     ofa produu~ctc might rya       ► have expeeced to be afFeued ifdie product caused tnjusy).

                 1Z~.As d~xibed In she afoe~e~nenttoned faces,, Mrs. Freitag is tl~e propee P'~intlff to brle~g die
                     aatlar 's duy ~ te,~ally mani+ed send ~eca~ae f►~r htabs~nd~ d►e P19►1++ttff'. w
                     co~utde~ablya a raulc ofdu Tkf~adaac's negligent infltctEon ofemaionat diseras.

                 123.The Dekndant's aaione aree~e c!~ pe000cimaoe cause of c~ lo,e of eonsorctum. tc was ct~e
                     Def~ndent's motions ~twent du direst end pe+ouima~e a~uee ofthe InJuty to she P7aindl~



                                                                                                                16
             Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 23 of 25




                     b~►~e~~atacaape~rated his anxiety a,nddepressfon until the point where~he c~ouW noa
                     longer h~ndk ~v~eryday ncttvlties,effectively debilitating him.

                 1Z4.Whitt will aonsthude s valid i~ury vart~ wide the relado~uhip ofthe l~atndffto the injured
                     retattv~e. Sae HWttn .~r. FrAnds Haw~e~r ~ Sonr, 40 Mast. App. t~. 692 t199b) (finding
                     d[miniefied ~►1 llk~ abeena of marltnl reh~dons~ inability to return ~o w►odc, na~1 too
                     P~~ ~Y~~Y acre, aseumpttan of outaftk yard work; pininetl~'s fittsaatton~ ac~e~~
                     froquent mood ~wlnp~, and seeming toss of int~eraat in lik di~wlt for die apot~ae ~o liMe
                     with}.

                 125.7'oame extent,ordinwy human experience u              w thesoon the mn~nitude ofdie lone.
                     [n t~►is ca~e~ tke Ptatndff !mss aut~e~ed bas of cnnpby►nenc. the p~obg~►t                aF
                     spanding these days fa Jeil~ die financial burden of being unable to proaridc for his Enmity.
                     and d►e wnNnued s~dMe~e efC~xs on his mental heakh. His wife Mra. T~itse, lost the
                     wmpa►nlorohtp ofher hua'band as a reautt ofhie deep depression.She way forced to set As
                     a 8ingte motluer beaime her kue6and aouW noe even Md the mental etren~th to ~hov~ner.
                     ~out ofbed,or mlk.$1te hxd to pravlde for the family Alone.race for tlu~rsn alone.
                     and care for her Hwbau+d who could not race for himself.She lcsc her snedkal inwranae
                     and tae eufferad phyaiattly witkout necessary aorti:ane a~tments. was foroed to work laic
                     or tk~a fobs ae a time co support her husbLnnd and children end h~si co pay his inceexaed
                      c1►i~d euppoK amount duau~lt her eaminge.

                 1tb.Theeefore, as a moult ~ the ne~li~eaa of du Defendant wtuch e~sperated his fe~gtte
                     tn~nt~l etntue, Mrs. Re~eitAs acts deprived of her Husband's aoanpanioeuhip. con►Eor~ tiutd
. ~~F   rn   ~                                   JG                         ~i~^~~. _cC ti.~~Ca•~~=~~_~~~J~                 ~i   ~.t
                 .~...~~~~M~~         v.   m.~        ~dC.~9Giii   J   i~                                     i   u   ~~




             WHBREPORE~ the Plntnt[ff respectfully demand drat judgment ettrer on her belutf Rgain~ the
             t~efen~nt in tl~e mwctmuen aalounc altoared brr taw plus Inter   and atc~n~ya'feee~~all
             odter amounm which ae~e recov~erabk by taw. stiffrequeac iud,~nc a8atnat do Defen~et and
             as award of eemp~ahocy dama~ae whkh will ndequaaely cotape~tsaoe bes far hip dAanagea snd
             loss.tither whh inoe~ and recta.




                                                                                                                      I7'
 Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 24 of 25




Plaintiffs het+e~► demand a tc~i byiu~Y ots afl claltn~ and!    so tduWa.



WHBRE~QR.P~aindE~s reBPeaEu~tY ~queac that this Hottotsbk Couuc~

    1. Bnter A ju$gmeat x~tmt tl~e Defendant. Comcnst Cable C~mmunla~done M~ne~gement~



    2. Award tNa[ntif~s d~ma'a,Includlt~g rnebie dama~ea whets Avaflabk~

    3. Aani~d Pistetdf~s she oou~ ofthe cage,ic~tudtag Aaore~'f~ea:
                         a
    4. Award PlaiattfK~ Interest. including, but not IEmit~d to pce~judganent intere~ti

    5. Allarev PminNffe'd~mamd for Trtat by jucr,end

   6 FAehbn such other acid Eurd►er relkf as the Court deemsiva and proper.

Uaeed:




                                                                                          18




                                                                                               "' S
 Case 1:19-cv-12470-PBS Document 1-1 Filed 12/06/19 Page 25 of 25




 t. ~o~a Sakai Fr~eit~, Plai~tlf~ in the abo~captioned action,do hereby declare that 1}~ t+ead the
 fae~egoln~ VeriAed Complaint and dut t~►e Tacos sated in [t acc true. l dalaue antler die 1~in~ Aad
 P+ena~ldes of Perjury that t!u for~otng fe true and accurate and dots d laeatian was acecuted die
,~~+5~:.__ c~~Y of~Q                  d~.~ ,~ ~to ~%                              _,., Ma~achuaaa.

    ~. ,.~. ~ ._ ,,
  ,:~




 1, Atlae Fr~t~a, Plaintiff in the abotie capc[oMd Action. cb hereby declare that I have read the
 fon~oing Vedfled Complaint and drat the fadx stated in it Are true. I decl~rc under ehe Pains and
 Pe tetra P~etjury el~t tke              I~ true and accurate and ehia der aracfon anus aaecat~ed thfa
 ~~n~..~,,.,_ day of                         -,_~[~ to __,Ln,~                        Massachusetts.
     ,/..~_~.~
   ~~fj
      ',\
        \.~                   M   ~./~"


              a=~~




                     `~-       - ..         - ~ -              ._ m .. - Raepectfolly subm"ieted~

                                                      JUAO SAKAi FRERAS& AL1NE FREITAS~

                                                                                   By d~elr Aecorneq~

                                                                 _.....          °"~~
                                                                          ...Diane       tie.F.~q.       _`"'`~
                                                                                 B No.6693t9
                                                                     SHAPlltO LAW C3ROUP,PC
                                                                      X00TrAde Censer,Staioe 3700
                                                                             ~1Vdbtiim, MAOL80I
                                                                                Tel:339.Z~,Z300
                                                                               Fex:339.2.2099
                                                                  Emil:dnordhy~apiroleg~t,wen
